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                               United States District Court
                                         for the
                               Southern District of Florida

       Jacob Zowie Thomas Rensel and       )
       others, Plaintiff,                  )
                                           )
       v.                                  ) Civil Action No. 17-24500-Civ-Scola
                                           )
       Centra Tech, Inc. and others,       )
       Defendants.                         )
                  Omnibus Order on Defendants’ Motions to Dismiss
         This matter comes before the Court on Defendant Floyd Mayweather’s
   motion to dismiss (ECF No. 141), Defendant Khaled Khaled’s motion to dismiss
   (ECF No. 142), Defendant Steven Sykes’ motion to dismiss (ECF No. 140), and
   Defendant Steven Stanley’s motion to dismiss (ECF No. 157) the Plaintiffs’ First
   Amended Complaint. After reviewing the parties’ written submissions, the
   record, and the applicable law, the Court grants the Defendants’ motions. (ECF
   Nos. 140, 141, 142, 157.)
   I.       Background
         Defendant Centra Tech was a company founded in May 2016 which
   purported to sell CTR Tokens in an initial coin offering (“ICO”). The ICO allegedly
   raised funds for, among other things, a debit card backed by Visa and
   Mastercard that would allow users to instantly use cryptocurrencies to make
   purchases. Between July 23, 2017 and April 20, 2018, Centra Tech’s ICO raised
   more than $32 million from thousands of investors. The founders of Centra Tech,
   Defendants Sharma, Farkas, and Trapani are currently the subjects of an SEC
   enforcement action (S.E.C. v. Sharma et al., No. 18-cv-2909-DLC (S.D.N.Y.)1 and
   are being criminally prosecuted in the Southern District of New York for the
   fraudulent Centra Tech scheme (United States v. Sharma et al., No. 18-cr-340-
   LGS (S.D.N.Y.)). (Compl. at ¶¶ 60-61, ECF No. 1.) The Plaintiffs’ Amended
   Complaint in this case incorporates by reference the SEC complaint and the
   criminal complaint. (Id. at ¶ 61 n.9.)
         In order to promote their product, the founders of Centra Tech engaged in
   a marketing campaign. In a July 2017 press release, Centra Tech stated that it
   had created “the world’s first Debit Card that is designed for use with
   compatibility on 8+ major cryptocurrency blockchain assets. . . [this is] truly a

   1The SEC action is currently stayed during the pendency of the criminal
   prosecution.
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   ground floor opportunity . . . that offers a comprehensive rewards program for
   both token and card holders while giving the ability to spend your cryptocurrency
   in real time with no fees.” (Id. at ¶ 91.) Centra Tech also advertised that it worked
   “anywhere that accepted Visa and Mastercard.” (Id. at 92.) Centra Tech also
   published a series of white papers which touted the profit potential of investing
   in the ICO. (Id. at ¶¶ 94-95.) None of the claims made by Centra Tech were true.
   (Id. at ¶ 98.)
           To further promote its product, Centra Tech created fictional executives
   with impressive backgrounds. (Id. at ¶ 270.) For example, Centra Tech listed
   Michael Edwards as its CEO and Co-Founder. Centra Tech created a LinkedIn
   profile for Mr. Edwards using the picture of a Canadian professor with no
   relationship to the company. (Id.) Mr. Edward’s LinkedIn profile stated that he
   had “established licensing and other partnership terms with Visa & Mastercard”
   and that he had an MBA from Harvard University. (Id. at ¶¶ 271, 275.) Centra
   Tech also created Jessica Robinson, the Chief Financial Officer, who had
   previously been the CFO of Johnson Communications. (Id. at ¶¶ 272-74.) The
   presentations made to potential investors also included bios for Edwards and
   Robinson. (Id. at ¶ 281.)
           Centra Tech had some real employees, including Defendant Sykes and
   Defendant Stanley. Sykes was the Chief Technology Officer (“CTO”) of Centra
   Tech from August 2017 through April 2018. (Id. at ¶ 64.) Sykes was responsible
   for “driving the delivery of the Centra product to completion.” (Id. at ¶ 244.)
   According to the complaint, Sykes was responsible for all customer experiences
   related to Centra Tech’s website, personally familiar with the content and
   maintenance of Centra Tech’s website, and personally familiar with the process
   customers had to complete to purchase Centra Tokens during the Centra Tech
   ICO. (Id. at ¶ 243.)
           Another real employee was Defendant Stanley. Stanley was Centra Tech’s
   Director of Public Relations. (Id. at ¶ 63.) Stanley promoted Centra Tech through
   message boards on Bitcointalk. (Id. at ¶ 186.) On July 31, 2017, Stanley posted
   an announcement on Bitcointalk directing readers to a link used to sell CTR
   Tokens. (Id.) Stanley also answered investor’s questions and responded to
   inquiries on behalf of Centra Tech. (Id. at ¶ 190.)
           Centra Tech also recruited celebrities to promote its product. Defendant
   Floyd Mayweather, a professional boxer, was compensated for promoting Centra
   Tech. (Id. at ¶ 208.) On September 14, 2017, Mayweather posted a tweet with a
   picture of himself holding a Centra Tech debit card and captioned the picture:
   “Spending bitcoins Ethereum and other types of cryptocurrency in Beverly
   Hills…” (Id. at ¶ 209.) On September 18, 2017, Mayweather tweeted “Centra’s
   (CTR) ICO starts in a few hours. Get yours before they sell out, I got mine.” (Id.
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   at ¶ 210.) He also participated in a video for Centra Tech which showed him
   using the Centra Tech debit card. (Id. at ¶ 251.)
         Defendant Khaled, a well-known celebrity and music producer, also
   promoted Centra Tech. (Id. at ¶ 213.) For example, in September 2017, Khaled
   posted a picture of himself holding the Centra Tech debit card on his Instagram
   account and the caption read, “I just received my titanium centra debit card. The
   Centra Card & Centra Wallet app is the ultimate winner in Cryptocurrency debit
   cards powered by CTR tokens! Use your bitcoins, ethereum, and more
   cryptocurrencies in real time across the globe. This is a game changer here. Get
   your CTR tokens now!” (Id. at ¶ 213.) Khaled posted another picture of himself
   with the same caption on September 27, 2018. (Id. at ¶ 214.)
         The Plaintiffs filed a four-count complaint for securities fraud based on the
   sale of unregistered securities in the form of CTR Tokens. Counts I and III are
   asserted against all Defendants. Counts II and IV are asserted against
   Defendants Sharma, Farkas, and Trapani only. This opinion only addresses the
   motions to dismiss Counts I and III by Defendants Mayweather, Khaled, Sykes,
   and Stanley.
   II.   Legal Standard
          When considering a motion to dismiss under Federal Rule of Civil
   Procedure 12(b)(6), the Court must accept all the complaint’s allegations as true,
   construing them in the light most favorable to the plaintiff. Pielage v. McConnell,
   516 F.3d 1282, 1284 (11th Cir. 2008). A pleading must only contain “a short and
   plain statement of the claim showing that the pleader is entitled to relief.” Fed.
   R. Civ. P. 8(a)(2). A motion to dismiss under Rule 12(b)(6) challenges the legal
   sufficiency of a complaint. See Fed. R. Civ. P. 12(b)(6). In assessing the legal
   sufficiency of a complaint’s allegations, the Court is bound to apply the pleading
   standard articulated in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). That is, the complaint “must . . .
   contain sufficient factual matter, accepted as true, to state a claim to relief that
   is plausible on its face.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1289
   (11th Cir. 2010) (quoting Bell Atlantic Corp, 550 U.S. at 570). “Dismissal is
   therefore permitted when on the basis of a dispositive issue of law, no
   construction of the factual allegations will support the cause of action.” Glover
   v. Liggett Grp., Inc., 459 F.3d 1304, 1308 (11th Cir. 2006) (internal quotations
   omitted). “A claim has facial plausibility when the plaintiff pleads factual content
   that allows the court to draw the reasonable inference that the defendant is liable
   for the misconduct alleged.” Ashcroft, 556 U.S. at 678. “The plausibility standard
   is not akin to a ‘probability requirement,’ but it asks for more than a sheer
   possibility that a defendant has acted unlawfully.” Id.
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   III.   Analysis
          A. Mayweather’s Motion to Dismiss
          1. Count I - Violation of Section 12(a)(1) of the Securities Act
          Count I is a claim for violation of Section 12(a)(1) of the Securities Act, 15
   U.S.C. § 77l. (ECF No. 1 at ¶ 314.) Section 12(a)(1) makes it unlawful to offer or
   sell an unregistered security. 15 U.S.C. § 77l(a)(1). To establish a prima facie
   case under Section 12, the plaintiff must allege (1) the sale or offer to sell
   securities; (2) the absence of a registration statement covering the securities; and
   (3) the use of the mails or facilities of interstate commerce in connection with the
   sale or offer. Swenson v. Engelstad, 626 F.2d 421, 424-25 (5th Cir. 1980). In
   Pinter v. Dahl, the Supreme Court articulated two circumstances in which a
   defendant can be considered one who “sold” unregistered securities. 486 U.S.
   622 (1988). The defendant must either (1) “be the person who transfers title to,
   or other interest in, that property;” or (2) “successfully solicits the purchase,
   motivated at least in party by a desire to serve his own financial interests or
   those of the securities owner.” Id. at 642, 647.
          The parties do not dispute that the CTR Tokens are unregistered securities
   and that the Defendant used the facilities of interstate commerce. The question
   is whether Mayweather qualifies as someone who “sold or offered to sell”
   securities. The Defendant argues that there is no evidence that Mayweather
   transferred title to the CTR Tokens. Therefore, Mayweather would fall under the
   second category articulated in Pinter, one who successfully solicits the purchase
   of unregistered securities. 486 U.S. at 647. However, according to Mayweather,
   the Plaintiffs fail to allege successful solicitation because there is no evidence
   that Mayweather’s tweets actually resulted in the purchase of CTR Tokens. (ECF
   No. 141 at 10.) Furthermore, the Defendant argues that direct communication
   between the seller and buyer is required under Section 12(a)(1). (Id.)
          The Plaintiffs respond by arguing that causation is not a necessary
   element under Section 12. The only two elements necessary to make Mayweather
   a “seller” are: (1) he solicited the purchase and (2) the participant or the owner
   of the security sold benefited. (ECF No. 162 at 12.) Because Mayweather solicited
   the purchase by encouraging his followers to buy the CTR Tokens and he
   benefited financially by making this public endorsement, he is a “seller” for
   purposes of Section 12(a). Upon careful review, the Court agrees with the
   Defendant.
           The authoritative case on this issue is the Supreme Court’s decision in
   Pinter v. Dahl, 486 U.S. 622 (1988). In Pinter, the Supreme Court addressed the
   issue of who qualifies as a “seller” within the meaning of Section 12 of the
   Securities Act. Id at 647. In defining the scope of liability for those who “solicit”
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   the purchase of securities, the Pinter Court held that the language of Section 12
   extends liability to “the person who successfully solicits the purchase, motivated
   at least in part by a desire to serve his own financial interests or those of the
   securities owner.” Id. The Court explained that the “solicitation of a buyer is
   perhaps the most critical stage of the selling transaction. It is the first stage of a
   traditional securities sale to involve the buyer, and it is directed at producing the
   sale.” Id. at 646. In defining this test, the Court rejected the Fifth Circuit’s
   “substantial-factor” test which imposed liability if the seller’s participation in the
   buy-sell transaction “is a substantial factor in causing the transaction to take
   place.” Id. at 649. The Court held that this would impose liability on “participants
   collateral to the offer or sale.” Id. at 650. Instead, the Pinter test focuses on “the
   defendant’s relationship with the plaintiff-purchaser” rather than the
   “defendant’s degree of involvement in the securities transaction.” Id. at 651.
          The Eleventh Circuit in Ryder Int’l Corp. v. First Am. Nat’l Bank, 749 F.
   Supp. 1569 (11th Cir. 1990) focuses on this relationship between the plaintiff
   and defendant. In applying this test, the Eleventh Circuit refers to a scholarly
   article which states that “Pinter apparently requires someone to be an issuer or
   a paid participant who actually contacted a buyer and urged the buyer to
   purchase before such participation would meet the first prong of the solicitation
   test.” Id. at 1579 (emphasis in original). Therefore, “a plaintiff must allege not
   only that the defendant actively solicited investors, but that the plaintiff
   purchased securities as a result of that solicitation. Mere conclusory allegations
   that a defendant solicited the sale of stock and was motivated by financial gain
   to do so are insufficient to state a claim under Section 12.” In re CNL Hotels &
   Resorts, Inc., No. 04-cv-1231ORL-31KRS, 2005 WL 2291729, at *5 (M.D. Fla.
   Sept. 20, 2005).
          The Plaintiff’s complaint fails to establish that Mayweather “successfully
   solicited” the Plaintiffs to purchase CTR Tokens. The allegations against
   Mayweather establish that he posted two tweets from his Twitter account related
   to CTR Tokens. (ECF No. 97 at 64-65.) One of the posts urges his followers to
   “get yours before they sell out, I got mine.” (Id. at ¶ 210.) This is the closest thing
   to “solicitation” in the complaint. However, there are no allegations that this was
   a successful solicitation, that Mayweather had any contact with Plaintiffs, or that
   Plaintiffs even saw the posts. See Pinter, 486 U.S. at 647. In order to be
   considered a seller under Section 12, Pinter requires the Court to look at the
   defendant’s relationship with the plaintiff-purchaser. Id at 651; see In re CNL
   Hotels & Resorts, 2005 WL 2291729 at *5 (the plaintiff’s assertions “must be
   supported by specific factual allegations demonstrating a direct relationship
   between the defendant and the plaintiff-purchaser.”). Mayweather has no
   relationship with the Plaintiffs. The complaint does not allege that Plaintiffs
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   follow Mayweather’s twitter account or that they saw his posts or video with
   Centra Tech. In fact, two of the Plaintiffs, Fung Poo and Lee, made their
   purchases before Mayweather posted on Twitter about Centra Tech. (ECF No. 1
   at ¶¶ 42-45.)
          The Plaintiffs point to the following paragraph as evidence that “each of
   the Plaintiffs who purchased CTR following Mayweather’s endorsement were
   successfully solicited to purchase CTR Tokens by Mayweather.” (Id. at 12.):
                Each of the Plaintiffs actively researched Centra Tech
                and the Centra Products, prior to making their
                purchases of CTR Tokens and throughout the period in
                which they held their CTR Tokens. Accordingly, each of
                the Plaintiffs were personally, and successfully,
                solicited by each of the Defendants in connection with
                Defendants’ public representations and active
                solicitations to purchase CTR Tokens outlined herein.
   (Id. at 12-13 (quoting ECF No. 1 at ¶ 33).) This type of conclusory allegation,
   vaguely referring to “research,” fails to establish that Mayweather reached out to
   the Plaintiffs and successfully solicited Plaintiffs to purchase CTR Tokens.
   Accordingly, Count I is dismissed as to Defendant Mayweather.
         2. Count III – Violation of Section 10(b) of the Exchange Act
          Count III is a claim against all Defendants for violation of Section 10(b) of
   the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5,
   promulgated thereunder by the SEC. (ECF No. 1 at ¶ 335.) A claim brought under
   Rule 10b-5 must satisfy the special fraud pleading requirements of Federal Rule
   of Civil Procedure 9(b) and the heightened pleading requirements set forth in the
   Private Securities Litigation Reform Act (“PSLRA”). In re Galectin Therapeutics,
   Inc. Securities Litigation, 843 F.3d 1257, 1269 (11th Cir. 2016). Rule 9(b) requires
   the complaint to set forth:
                 (1) precisely what statements or omissions were made
                 in which documents or oral representations; (2) the time
                 and place of each such statement and the person
                 responsible for making (or, in the case of omissions, not
                 making) them; (3) the content of such statements and
                 the manner in which they misled the plaintiff, and; (4)
                 what the defendant obtained as a consequence of the
                 fraud.
   Id. In addition, the PSLRA requires heightened pleading requirements for Rule
   10b-5(b) claims. The PSLRA requires that the plaintiff “specify each statement
   alleged to have been misleading, the reason or reasons why the statement is
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   misleading, and, if an allegation regarding the statement or omission is made on
   information and belief, the complaint shall state with particularity all facts on
   which that belief is formed.” Id.
          There are three subsections to Rule 10b-5. While there is disagreement in
   the briefs as to whether the Plaintiffs are asserting a claim under subsection a,
   b, or c, the Court will assume that Plaintiffs intended to assert a claim under all
   three subsections. Under Rule 10b-5(b), it is unlawful to make any “untrue
   statement of a material fact or to omit to state a material fact necessary in order
   to make the statements made . . . not misleading.” This is considered
   “misrepresentation” liability. Under Rule 10b-5(a) and (c), it is unlawful to
   “employ any device, scheme, or artifice to defraud” or “to engage in any act,
   practice, or course of business which operates or would operate as a fraud or
   deceit upon any person.” These subsections are considered “scheme” liability.
   See In re: Altisource Portfolio Solutions, S.A. Securities Litigation, No. 14-81156,
   2015 WL 11988900, at *5 (S.D. Fla. Dec. 22, 2015) (Dimitrouleas, J.). Under all
   three subsections of 10b-5, the plaintiff must plead reliance. Dura Pharm., Inc.
   v. Broudo, 544 U.S. 336, 342 (2005); In re: Altisource, 2015 WL 11988900 at *5.
          Mayweather’s motion argues that plaintiffs have failed to plead the element
   of reliance because, as is the case with Count I, there are no allegations that the
   Plaintiffs even saw Mayweather’s posts or video, much less relied on them to
   make investment decisions. Plaintiffs attempt to rely on the presumption of
   reliance under the “fraud-created-the-market” exception. (ECF No. 141 at 18-
   19.) This theory is premised on the idea that “it is reasonable to rely on the
   market to screen out securities that are so tainted by fraud as to be totally
   unmarketable.” Ross v. Bank South, N.A., 885 F.2d 723, 729 (11th Cir. 1989).
   According to the Plaintiffs, Mayweather is alleged to have engaged in the
   fraudulent scheme that created the market for CTR Tokens. (ECF No. 162 at 18.)
   “Here, the alleged fraud was Defendants’ scheme to unload patently worthless
   CTR Tokens by pretending, as Mayweather did, that the Centra Debit Card
   functioned and thus CTR Tokens had value.” (Id.) Mayweather responds that he
   cannot be held liable under this theory because he did not participate in the
   “scheme” to bring the tokens to market. (ECF No. 182 at 6.) In fact, the
   allegations in the complaint indicate that most of the Plaintiffs purchased CTR
   Tokens before Mayweather is alleged to have done anything. (Id. at 7.)
          For the reasons stated by the Court in dismissing Count I, a claim under
   Rule 10b-5(b) also fails. The Plaintiffs fail to allege actual reliance because
   Mayweather had no contact with Plaintiffs and Plaintiffs are not alleged to have
   even seen Mayweather’s social media activity. (ECF No. 162 at 16.) Therefore,
   the Court must determine whether the fraud-created-the-market presumption
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   of reliance is applicable to Mayweather under Rule 10b-5(a) and (c). Upon careful
   consideration, the Court holds that it is not.
           In order to sustain a claim based on the fraud-created-the-market theory,
   the Plaintiffs must show that but for Mayweather’s fraud, the securities in
   question could not have been marketed. Ross v. Bank South, N.A., 885 F.2d 723,
   729 (11th Cir. 1989); In re Amerifirst Securities Litigation, 129 F.R.D. 423, 432
   (S.D. Fla. 1991) (Hoeveler, J.). The complaint alleges that Mayweather posted two
   items on Twitter on September 14, 2017 and September 18, 2017 and
   participated in a video in “mid-September” of 2017. (ECF No. 1 at 64-65, 79.)
   Plaintiffs’ allegations, however, establish that the CTR Tokens were selling before
   Mayweather was even involved. (Id. at ¶¶ 34, 40, 42, 44, 46.) For example,
   Plaintiff Rensel purchased CTR Tokens on July 30, 2017. (Id. at ¶ 34.) Plaintiff
   Chi Hao Poon purchased CTR Tokens on August 17, 2017. (Id. at ¶ 40). And
   Plaintiff King Fung Poon purchased CTR Tokens on September 12, 2017. (Id. at
   ¶ 44.) It is clear that Mayweather’s “fraud” did not create the market nor was his
   fraud a but for cause of bringing the securities to market. “If a plaintiff proves
   no more than that the [securities] would have been offered at a lower price or at
   higher rate, rather than they would never have been issued or marketed, he
   cannot recover.” In re Amerifirst, 129 F.R.D. at 432. Accordingly, Plaintiffs are
   unable to establish reliance based on the fraud-created-the-market theory and
   Count III must be dismissed as to Mayweather.
         B. DJ Khaled’s Motion to Dismiss
           Counts I and III of the Plaintiffs’ complaint are also asserted against
   Defendant Khaled. Khaled’s motion to dismiss puts forth largely the same
   arguments as Mayweather’s motion to dismiss. (ECF No. 142.) With regard to
   Count I, Khaled argues that Pinter’s “successfully solicited” test “focuses on the
   defendant’s relationship with the plaintiff-purchaser.” (ECF No. 142 at 6.) As is
   the case with the Plaintiffs’ claims against Mayweather, the complaint fails to
   allege that the Plaintiffs followed Khaled on social media or even saw Khaled’s
   two social media posts. Therefore, Plaintiffs cannot assert that Khaled
   “successfully solicited” the Plaintiffs to purchase CTR Tokens. For the reasons
   stated above, the Court dismisses Count I as to Khaled.
           As to Count III, the Court applies the same analysis it applied to the claims
   against Mayweather. The Plaintiffs’ claim under Rule 10b-5(b) fails because there
   are no allegations that the Plaintiffs relied on Khaled’s posts. The complaint does
   not allege that the Plaintiffs follow Khaled on social media or even saw the posts
   before they purchased the CTR Tokens. Therefore, the Plaintiffs are relying on
   the fraud-created-the-market exception to sustain a claim under Rule 10b-5(a)
   or (c). (ECF No. 161 at 20.) The Plaintiffs’ response brief, however, does not even
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   bother to address the reliance argument in Khaled’s motion to dismiss. Instead,
   in a footnote, the Plaintiffs incorporate by reference their arguments in response
   to Mayweather’s motion to dismiss, “in particular those relating to reliance.” (Id.
   at 20 n.9.) As the Court held with regard to Mayweather, the Plaintiffs cannot
   sustain their claim based on a fraud-created-the-market theory of reliance. Like
   Mayweather, Khaled’s two posts occurred in September 2017, after some of the
   purchases of CTR Tokens had already taken place. (ECF No. 97 at ¶¶ 213-214.)
   Plaintiffs cannot assert that Khalid’s alleged fraud created the market for CTR
   Tokens nor was his fraud a but for cause of bringing the securities to market.
   Accordingly, Count III must be dismissed as to Khaled.
         C. Steven Sykes’ Motion to Dismiss
          Also before the Court is Defendant Steven Sykes’s motion to dismiss
   Counts I and III of the complaint. (ECF No. 140.) Sykes was Centra Tech’s CTO
   from August 2017 through April 2018. (ECF No. 1 at ¶ 64.) He was responsible
   for the content and maintenance of Centra Tech’s website, including the
   website’s “customer experience.” (Id.) Sykes’s motion to dismiss argues that his
   involvement with Centra Tech’s website does not make him a seller of securities
   under Section 12(a)(1) of the Securities Act. (ECF No. 140 at 4.) In response, the
   Plaintiffs argue that “any and all solicitations for the purchase of CTR Tokens
   contained on the Centra Tech website are equally attributable to him and hence,
   he was a ‘seller’ of unregistered securities.” (ECF No. 163 at 6.)
          As discussed above, Pinter held that “[b]eing merely a ‘substantial factor’
   in causing the sale of unregistered securities is not sufficient in itself to render
   a defendant liable under § 12(1).” 466 U.S. at 654. To state a claim under Section
   12(1), the “plaintiff must allege not only that the defendant actively solicited
   investors, but that the plaintiff purchased securities as a result of that
   solicitation. Mere conclusory allegations that a defendant solicited the sale of
   stock and was motivated by financial gain to do so are insufficient to state a
   claim under Section 12.” In re CNL Hotels & Resorts, Inc., No. 04-cv-1231ORL-
   31KRS, 2005 WL 2291729, at *5 (M.D. Fla. Sept. 20, 2005). Sykes’s general
   involvement with the company in his capacity as CTO does not establish that he
   had any contact with investors or in any way solicited investors to purchase CTR
   Tokens. See Ryder, 749 F. Supp. 1569 at 1579 (“Such general solicitation of
   business does not convert a broker into a . . . ‘seller,’ ‘offeror,’ or ‘solicitor.’”).
   While a functional website may have helped convince customers that Centra
   Tech was a legitimate business, the Plaintiffs’ allegations fall short of establishing
   that Sykes successfully solicited the purchase of CTR Tokens directly from the
   Plaintiffs. Therefore, the Court must dismiss Count I as to Defendant Sykes.
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          Count III is also asserted against Sykes for violation of Section 10(b) of the
   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5. Plaintiffs’ complaint does not
   make clear which subsection of Rule 10b-5 they are pursuing, nor does Sykes’
   motion help provide clarity as to the applicable law. The parties’ positions can
   be summarized as follows. Sykes was responsible for Centra Tech’s website and
   for the technology behind the Centra debit card. Therefore, any statements on
   Centra Tech’s website about the credit card’s functionality was necessarily a
   misrepresentation by Sykes. (ECF No. 163 at 8.) Sykes’s motion to dismiss,
   without a single citation to relevant legal authority, states that “there is simply
   no objective basis in which one can conclude, based on the information asserted,
   that Sykes made any false statements.” (ECF No. 140 at 5.)
          As discussed above, a claim brought under Rule 10b-5 must satisfy the
   pleading requirements of Rule 9(b) and the heightened pleading requirements
   set forth in the Private Securities Litigation Reform Act (“PSLRA”). In re Galectin
   Therapeutics, Inc. Securities Litigation, 843 F.3d 1257, 1269 (11th Cir. 2016).
   Rule 9(b) requires the complaint to set forth:
                 (1) precisely what statements or omissions were made
                 in which documents or oral representations; (2) the time
                 and place of each such statement and the person
                 responsible for making (or, in the case of omissions, not
                 making) them; (3) the content of such statements and
                 the manner in which they misled the plaintiff, and; (4)
                 what the defendant obtained as a consequence of the
                 fraud.
   Id. Here, the complaint fails to meet the heightened pleading requirements of
   Rule 9(b). The allegations against Sykes are based on his involvement with the
   website. The Complaint, however, is devoid of any specificity with regard to the
   content of the website, when the website was launched, the alleged
   misstatements on the website, who determined the content on the website, and
   if the Plaintiffs ever even visited the website. Accordingly, the Count III is
   dismissed as to Defendant Sykes.
         D. Steven Stanley’s Motion to Dismiss
         Also before the Court is Defendant Stanley’s pro se motion to dismiss
   Counts I and III of Plaintiffs’ complaint. (ECF No. 157.) Similar to their claims
   against Khaled and Mayweather, the Plaintiffs’ claims against Stanley are based
   on Stanley’s online posts or public representations about Centra Tech. (ECF No.
   1 ¶¶ 186-94.) As Centra Tech’s Director of Public Relations, Stanely answered
   questions in online forums and posted press releases about Centra Tech. (Id.)
   However, as was the case with Khaled and Mayweather, there are no allegations
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   that Stanley directed his communications to any particular Plaintiff or that
   Plaintiffs read this information. Instead, the Complaint generally refers to
   Stanley publicly posting answers to questions posed by a “a user on the
   Bitcointalk online forum.” (Id. at ¶ 187.)
                Although the [company] may make public statements .
                . . these statements are usually not directed at any
                particular investor. The [company] therefore does not
                engage in the type of one-to-one exchange of
                information which is typical of the broker-investor
                relationship and which the Supreme Court viewed as
                the most typical example of solicitation. To find
                “solicitation” in a case in which no attempt has been
                made by a defendant to channel information to the
                particular plaintiff would result in the broadening of the
                definition of a statutory “seller” to such an extent as to
                render meaningless the Supreme Court's statement
                that “a buyer cannot recover against his seller’s seller.”
   PPM America, Inc. v. Marriot Corp., 853 F. Supp. 860, 875 (D. Md. 1994) (citing
   Pinter, 786 U.S. at 644, n.21).
          Referring to its analysis above, the Court also dismisses Count III as to
   Stanley. With regard to the element of reliance necessary to state a claim under
   Rule 10b-5(b), the Complaint fails to allege that the Plaintiffs saw Stanley’s online
   posts, frequented the forums, or relied on this information in any way. Similarly,
   the Plaintiffs cannot rely on the-fraud-created-the-market presumption of
   reliance for a claim under Rule 10b-5(a) and (c) because there is no indication
   that but for Stanley, a person posting in online investor forums, the CTR Tokens
   could not have been offered on the market. See Ross, 885 F.2d at 729.
   IV.   Conclusion
         Based on the foregoing, the Court grants the Defendants’ motions to
   dismiss Counts I and III of the Plaintiffs’ First Amended Complaint as to
   Defendants Mayweather, Khaled, Sykes and Stanley. (ECF Nos. 140, 141, 142,
   157.)

         Done and ordered, in chambers, in Miami, Florida on May 13, 2019.



                                                Robert N. Scola, Jr.
                                                United States District Judge
